                 Case 8:23-ap-00199-CPM             Doc 37      Filed 05/15/24       Page 1 of 2

 [Dordsta] [Order Scheduling Trial−AP]


                                         ORDERED.
Dated: May 15, 2024




                                    UNITED STATES BANKRUPTCY COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                             TAMPA DIVISION
                                            www.flmb.uscourts.gov

In re:                                             Case No. 8:20−bk−03522−CPM
Procom America, LLC                                Chapter 7

________Debtor*________/

Douglas N Menchise

          Plaintiff*


                                                  Adv. Pro. No. 8:23−ap−00199−CPM
vs.

Air France KLM S.A. aka Air France KLM
Group
et al
________Defendant*________/

 SECOND AMENDED ORDER SCHEDULING TRIAL (TO COORECT TIME LENGTH OF TRIAL)

           The Court will conduct a trial in this adversary proceeding on October 18, 2024, at 09:30
         AM in Courtroom 8B, Sam M. Gibbons United States Courthouse, 801 N. Florida Avenue,
         Tampa, FL 33602. The estimated duration of the trial is One Day Accordingly, it is

            ORDERED:

           1. Pretrial Disclosure. Fed. R. Civ. P. 26(a)(3) governs pretrial disclosure regarding
         witnesses and use of depositions. Parties must file and exchange names, telephone numbers,
         and addresses for witnesses, and any designations of depositions at least 28 days before trial.
         Objections to the use of depositions must be filed within 14 days of the disclosure.

            2. Joint Stipulation of Undisputed Facts. The parties must meet in person or by video to
         prepare a joint stipulation of undisputed facts and exhibits that may be admitted into evidence
         without objection. The stipulation must be filed no later than seven days before the date set for
         trial.

           3. Exhibits. Parties must comply with all requirements of Local Rules 7001−1 and
         9070−1 concerning exhibits. Parties must exchange exhibits no later than seven days before
         the date set for trial.

                (a) Objections to Authenticity. Unless written objection to authenticity is filed with
         the Court and served by email no later than the close of business on the second business day
         before trial, copies of exhibits will be admitted in lieu of the originals.
                Case 8:23-ap-00199-CPM             Doc 37      Filed 05/15/24       Page 2 of 2

               (b) Self−Authentication. If a party intends to rely upon the self−authentication
        procedures of Fed. R. Evid. 902(11) or (12) with respect to the introduction into evidence of
        records of regularly conducted activities pursuant to Fed. R. Evid. 803(6), the party must file
        with the Court and serve on other parties the written declaration required by Fed. R. Evid.
        902(11) or (12) and a copy of all records sought to be admitted at least 28 days before trial.

          4. Expert Testimony. As a condition of using expert testimony at trial, parties must
        comply with Fed. R. Civ. P. 26(a)(2) no later than 28 days before trial.

           5. Discovery Cutoff. Parties must complete discovery no later than seven days before the
        trial date except that parties may complete previously scheduled depositions up to the trial
        date.

           6. Discovery Disputes. The parties must first confer in good faith to resolve any
        discovery disputes. If unsuccessful, any party may request a telephone conference with the
        Court so that the Court may render an informal, preliminary ruling on the discovery dispute,
        without prejudice to the right of any party to file a formal motion.

           7. Meet and Confer Requirement. Counsel for all parties must confer within seven days
        prior to the trial and seek in good faith to settle the adversary proceeding.

          8.   Additional Deadlines: Motion for Summary Judgment Deadline August 19, 2024

        Avoid delays at Courthouse security checkpoints. You must show a photo I.D. to enter the
        Courthouse. Except in the Orlando Courthouse, you may not bring a cell phone or a computer
        into the Courthouse unless you are an attorney with a valid Florida Bar identification card or a
        pro hac vice order, or the presiding judge has entered a specific order authorizing you to bring
        your cell phone or computer into the Courthouse. See Rule 7.02 of the Local Rules of the
        United States District Court for the Middle District of Florida and Rule 5073−1 of this Court's
        Local Rules.



The Clerk's office is directed to serve a copy of this Order on interested parties via CM/ECF.

...
*All references to "Debtor" must include and refer to both of the debtors in a case filed jointly by two
individuals.
*All references to "Plaintiff" or "Defendant" must include and refer to multiple plaintiffs or defendants.
